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  9                               UNITED STATES DISTRICT COURT
 10                              CENTRAL DISTRICT OF CALIFORNIA
 11   NEIL DORVAL,                                       Case No. 2:24-cv-01347-JLS-MRW
 12                 Plaintiff,
                                                         JUDGMENT
 13                          v.
 14   FARIBA K. RAHIMI,
 15                 Defendant.
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 19          Having granted Defendant’s Fariba K. Rahimi’s motion to dismiss (Doc. 22), it is

 20   hereby ORDERED AND ADJUDGED that judgment is entered for Fariba K. Rahimi and

 21   against Neil Dorval as follows: Plaintiff Neil Dorval’s (1) copyright claim is DISMISSED

 22   WITH PREJUDICE, and (2) state-law unjust-enrichment claim is DISMISSED WITHOUT

 23   PREJUDICE TO REFILING IN STATE COURT. Defendant Fariba K. Rahimi may apply

 24   to the Clerk to tax eligible costs. See L.R. 54.

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 26    Dated: July 14, 2024
                                         HON. JOSEPHINE L. STATON
 27                                      UNITED STATES DISTRICT JUDGE
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